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                                              UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF KENTUCKY
                                                      AT LOUISVILLE
                                                    (Filed Electronically)


                       CRIMINAL ACTION NO. 3:21CR-21-CHB
                       UNITED STATES OF AMERICA,                                                    PLAINTIFF,


                       v.


                       ADDAM TURNER,                                                              DEFENDANT.


                                       MOTION OF DEFENDANT FOR REVOCATION
                                      OF DETENTION ORDER AND HEARING ON SAME

                              Comes the defendant, by counsel, and moves the Court pursuant to 18 U.S.C.

                       §3145(b) to revoke the order of the Magistrate Judge detaining him prior to trial. Defendant

                       requests a second hearing before the District Judge and an order releasing him under such

                       terms and conditions as the Court may impose to reasonably assure his appearance and the

                       safety of the public. Defendant requests a de novo hearing on this motion; and, in support

                       of same, submits the following Memorandum of Law.

                                                          Standard of Review

                              The scope of this Court’s review of the Magistrate Judge’s order is de novo. See

                       United States v. Reuben, 974 F.2d 580, 585 (5th Cir. 1992), cert. denied, 113 S.Ct. 1336

                       (1993); United States v. Koenig, 912 F.2d 1190, 1192 (9th Cir. 1990); United States v.

                       Tortora, 922 F.2d 880, 883 (1st Cir. 1990); United States v. Clark, 865 F.2d 1433, 1437

                       (4th Cir. 1989). This Court may hold a de novo evidentiary hearing and make an
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                       independent determination as to whether any conditions or combination of conditions will

                       reasonably assure defendant’s appearance at further court proceedings and protect the

                       public. United States v. Delker, 757 F.2d 1390, 1392-95 (3d Cir. 1985).

                                                    The Alleged Offense Conduct

                              In the complaint affidavit, it is alleged that Mr. Turner is a member of the United

                       Pharaoh’s    Guard     (UPG),   which    the       affiant—without   citing   any   evidence

                       whatsoever—lumps in with groups he identifies as “militia extremists and racially or

                       ethnically motivated violent extremists”. (Complaint Affidavit ¶7). On Christmas day, Mr.

                       Turner and other members of the UPG “participated in a caravan protest” in St. Matthews,

                       Kentucky, which St. Matthews police decided to “shadow”. (Id., at ¶6). While the affiant

                       references other “protestor caravans” that involved “using vehicles and getting out on foot

                       to illegally block roads, harassing vehicles not involved in the protests, and engaging in

                       other illegal activities”, he cites no evidence that this particular caravan engaged in such

                       conduct. (Id., at ¶¶6, 8).

                              After witnessing “several traffic violations” by the caravan and unspecified

                       “dangerous behavior”, police executed a “traffic stop” on the caravan’s lead vehicles. (Id.,

                       at ¶8). While speaking with the drivers of the stopped vehicles, the affiant claims that

                       officers saw Mr. Turner across the road away from the immediate scene in possession of

                       firearms. The affiant claimed “TURNER was observed placing the safety of the AR-pistol

                       into fire position then placing his right index finger inside the trigger guard and onto the

                       trigger”. Officers ordered him to remove his hand from this position, and the affiant

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                       confirms that Mr. Turner complied. Nevertheless, he was arrested and allegedly “used

                       physical force” to resist the arrest. (Id.).

                              Three days later on December 28, 2020, Mr. Turner allegedly posted a picture on

                       Twitter portraying a St. Matthews Police Department officer with a stylized “bullseye” on

                       his forehead and “skulls and a burning anarchy symbol” in the background. (Id., at ¶¶10-11,

                       R. 10 Indictment). The next day, he posted on Facebook criticism of police in general for

                       not following proper “rules of engagement” at protests and being “dangerous to public

                       safety” as a result. Notably, the post contained no threats of violence of any kind.

                       (Complaint Affidavit ¶12).

                              Despite the government’s almost total focus on the physical confrontation of

                       December 25, 2020, defendant is not charged herein with that conduct.1 Rather, he is

                       charged only with posting on Twitter three days later on December 28, 2020, the single

                       photograph referenced above.

                                                       The Pretrial Services Report

                              Defendant is 35 years old and has lived in the Louisville area in Charlestown,

                       Indiana, for his entire life. He recently lost his job and was living with friends, however if

                       released, he can reside in Charlestown with his father, who has agreed to be third party

                       custodian and remove all firearms from his home. (Pretrial Services Report, pp. 1-2). He is



                         1
                          That alleged conduct is the subject of misdemeanor charges for menacing and resisting
                         arrest in Commonwealth v. Addam Turner, Jefferson District Court No. 20-M-007514, a
                         pending case to which defendant has entered a plea of not guilty and for which he was
                         and remains on bond pending trial on April 6, 2021.
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                       in generally good health with no evidence of current or past mental health issues. (Id., at p.

                       2). He uses alcohol and marijuana on a weekly basis. (Id.). While he does have prior arrests

                       for misdemeanors, he has no prior convictions of any kind. However, he has received

                       citations for violating conditions of release on a pending state misdemeanor charge by

                       possessing (not using or brandishing) firearms. (Id., at pp. 3-4).

                              The Pretrial Services Report concludes that Mr. Turner does not pose a risk of

                       nonappearance. However, the report concludes that he poses a risk of danger to the

                       community and recommends his detention for a variety of reasons, some of which are either

                       unsupported by the report or actually contradicted by it, for example, the report cites “Prior

                       Arrests and Convictions” but makes clear that he has no prior convictions; claims he is a

                       “Violent Extremist: Domestic - Militia Extremist” but cites not a single instance of violent

                       conduct on his part; and states that he has a “History of Weapons Use” even though the only

                       evidence cited in the report is his possession of firearms, not use. (Id., at p. 5).

                                                         The Detention Hearing

                              At the video detention hearing on February 18, 2021, the United States presented no

                       witnesses, but proffered 1) the alleged facts contained in the complaint; 2) that Mr. Turner

                       was on bond in an unrelated state misdemeanor case at the time of his arrest on December

                       25, 2020; 3) that he was in possession of firearms while on a bond that required he not




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                       possess firearms; 4) the pretrial services report; and 5) a “chart” 2 summarizing the

                       government’s allegations of the “radicalization” of Mr. Turner.

                              Defendant proffered a YouTube video of an interview with members of the United

                       Pharaoh’s Group3 in which they declared the purpose of the group was to provide security

                       for Black Lives Matter protestors. Counsel called three witnesses: Taylor Dishman, Marcus

                       Woods, and Laura Thompson.

                              Taylor Dishman testified that she is the mother of defendant’s 15 year old daughter.

                       She confirmed that although she and defendant live apart and are no longer romantically

                       involved, they remain good friends who co-parent their daughter well together. He has never

                       been violent toward her even when she has violently provoked him and has never seen him

                       act violently toward others. On two occasions, she and defendant had encounters with law

                       enforcement and in each instance defendant had been cooperative and polite with the

                       officers. She is unaware of defendant ever acting violently or threateningly toward police.

                       She is aware that defendant was involved in the Black Lives Matter protests and is a

                       member of the United Pharaoh’s Guard but he has not exhibited any escalation of anger as

                       a result. She knows he carries a gun for safety reasons as a tow truck driver. He always

                       handled firearms safely and carefully.



                         2
                           Not formally introduced, but shared with defense counsel, filed with the Court prior to
                         the detention hearing, and considered by the Magistrate Judge.
                         3
                          As with the government’s exhibit, this was not formally introduced, but shared with
                         government counsel, filed with the Court prior to the detention hearing, and considered
                         by the Magistrate Judge.
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                              Marcus Woods testified that he employed defendant as an AAA tow truck driver

                       through Mosby Towing and had known him for 5 or 6 years, during which they became

                       close friends. As a contract tow truck driver, defendant carries a firearm for protection, has

                       been in several confrontational situations, but never acted violently. In fact, Mosby Towing

                       had a contract with the Shively Police Department; and Woods had the opportunity to

                       observe his interaction with police officers. On these occasions, defendant always acted

                       politely and respectfully and had no issues whatsoever with officers. Woods, who is

                       African-American, attended a couple of protests with defendant and observed no violence

                       from either him or the United Pharaoh’s Group.

                              Laura Thompson testified that she is an engineer who had worked as a contractor for

                       the Department of Homeland Security in the area of threat and explosive detection. As such,

                       she has and retains a security clearance. She met the defendant at a Breonna Taylor protest

                       some six months before and attended several protests with him thereafter. During these

                       protests, defendant never act violently or even pulled his weapon. He provided security with

                       other members of the United Pharaoh’s Group, a varied group of Whites, Blacks, Hispanics,

                       and LGBTQ persons which always stayed on the perimeter of the protests protecting

                       participants from violent counter-protestors, some of whom were armed and brandishing

                       weapons. The UPG and other security would escort such violent counter-protestors from the

                       scene, preventing confrontations. After defendant lost his job and, as a result, his house, she

                       allowed defendant to move into her home with her two children, 4 and 6 years old. She had

                       no safety concerns whatsoever with defendant being around her children. Defendant moved

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                       out eventually only because she had to quarantine due to COVID exposure. They had no

                       romantic or sexual relationship. While he became frustrated after his arrest, he never

                       expressed an intent to harm police officers. He just wanted to continue protesting what he

                       saw as injustice in the community. She did not believe that Mr. Turner had become

                       radicalized as alleged by the government.

                              In addition, defense counsel proffered that defendant’s father, George Richard

                       Turner, was willing to serve as a third party custodian for his son should he be released

                       pending trial. Mr. Turner is aware of the nature of the charges against defendant, has no

                       criminal history, will remove all firearms from the home, and will isolate his computers and

                       internet access from defendant’s use. The location of Mr. Turner’s residence in the Southern

                       District of Indiana would not be an obstacle to release since the probation office in this

                       district can coordinate defendant’s supervision with the Southern District of Indiana.

                       Defendant would be restricted to Mr. Turner’s residence except for work or such other

                       activities as approved by the probation office and would be subjected to GPS and location

                       monitoring to insure compliance with all conditions of release.

                              The Court held that while the United States failed to sustain its burden that defendant

                       was a flight risk, it did sustain its burden that he was a danger to the community, citing the

                       “weight of the evidence” and the “nature of the charges” he faces. The Magistrate Judge

                       held that the photo constituted a threat, that defendant had brandished a firearm, and that he

                       had proven himself unwilling to abide by conditions of bond in the related state case, i.e.,

                       he possessed firearms in violation of bond conditions that he not do so. Notably, the Court

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                       summarily declared that no condition or combination of conditions would reasonably protect

                       the public without discussing or explaining why the conditions recommended by the

                       defendant fell short of this goal.

                                                  Additional Evidence to Be Formally
                                                   Introduced at a De Novo Hearing

                              At a de novo hearing defendant will introduce video evidence of defendant’s arrest

                       showing that he did not threaten police officers, did not pull or brandish his firearms, and

                       briefly resisted arrest only after being manhandled by arresting officers. In addition,

                       defendant would present testimony from additional witnesses.

                                                               Argument

                                             The Bail Reform Act, the Standard of Proof,
                                                   and the Government’s Burden

                              At the heart of the Bail Reform Act are a presumption and a directive: 1) the

                       presumption of 18 U.S.C. §3142(e) that in certain cases and for certain defendants an

                       accused person should be detained in custody pending trial because “no condition or

                       combination of conditions will reasonably assure the appearance of the person as required

                       and the safety of the community . . . .” and 2) the directive of 18 U.S.C. §3142 that in all

                       other cases, the accused “shall” be released pending trial on personal recognizance or an

                       unsecured bond unless the United States proves by “clear and convincing evidence” that no

                       condition or combination of conditions would reasonably assure the safety of any other

                       person or the community or proves by a “preponderance of the evidence” that no condition



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                       or combination of conditions would reasonably assure the defendant’s appearance as

                       required.

                              The Magistrate Judge found that the presumption of 18 U.S.C. §3142(e) against

                       release does not apply to defendant’s case and that the government failed to prove by a

                       preponderance of the evidence that defendant would not appear as required. Accordingly,

                       18 U.S.C. § 3142 mandated his pretrial release on personal recognizance or an unsecured

                       bond unless the United States proved by “clear and convincing evidence” that no condition

                       or combination of conditions would reasonably assure the safety of any other person or the

                       community. The clear-and-convincing-evidence standard for finding someone to be a danger

                       to the community or others is a much higher evidentiary standard than the preponderance-of-

                       evidence standard for finding someone to be a flight risk. It requires the government “to

                       place in the ultimate factfinder an abiding conviction that the truth of its factual contentions

                       are ‘highly probable’”. Colorado v. New Mexico, 467 U.S. 310, 316 (1984).

                              Evidence is clear and convincing if it “leave[s] no reasonable doubt in the
                              mind of the trier of fact as to the truth of the proposition in question” Davis
                              v. Combes, 294 F.3d 931, 936–37 (7th Cir.2002) (internal quotation marks
                              omitted), and proof by a preponderance of the evidence means that the “trier
                              of fact must believe that it is more likely than not that the evidence establishes
                              the proposition in question.” American Grain Trimmers, Inc. v. Office of
                              Workers' Compensation Programs, 181 F.3d 810, 817 (7th Cir.1999).

                       In re Andrea H. Meyers, 616 F.3d 626, 631 (7th Cir. 2010). See also, United States v.

                       Springer, 715 F.3d 535, 538 (4th Cir. 2013) (“Clear and convincing evidence is evidence ‘of

                       such weight that it produces in the mind of the trier of fact a firm belief or conviction

                       without hesitancy, as to the truth of the allegation sought to be established . . . .”); In re

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                       Genetically Modified Rice Litigation, 666F.Supp. 1004, 1030 (E.D. Mo. 2009) (“Clear and

                       convincing evidence is evidence that ‘instantly tilts the scales in the affirmative when

                       weighed against evidence in opposition; evidence which clearly convinces the fact finder

                       of the truth of the proposition to be proved.’”); In re Eastern Continuous Forms, Inc., 302

                       B.R. 320, 335 (Bankr. E.D. Pa. 2003) (“The clear and convincing standard requires evidence

                       that is ‘so clear, direct, weighty, and convincing as to enable the jury to come to a clear

                       conviction, without hesitancy, of the truth of the precise facts of the issue.’”).

                                            Defendant Should Be Released Pending Trial

                              The Magistrate Judge correctly ruled that the presumption against release does not

                       apply and that defendant was not a flight risk, however she incorrectly held that the

                       government met its burden of proving by clear and convincing evidence that no condition

                       or combination of conditions will reasonably assure the safety of the community. For the

                       reasons set forth below and to be presented at the de novo detention hearing, defendant’s

                       detention should be revoked, and he should be released pending trial.

                              In ruling from the bench, the Magistrate Judge cited three reasons to detain

                       defendant: 1) the weight of the evidence regarding the dangerousness and nature of the

                       charges against him, i.e., the photo constituted a serious threat and he had brandished a

                       weapon; 2) failure to abide by conditions of his state bond; and 3) her finding that the

                       government had proved by clear and convincing evidence that no condition or combination

                       of conditions of release would reasonably assure the safety of any other person and the

                       community.

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                              Regarding the allegation of brandishing, the weight of the evidence was equivocal

                       at best. It was proffered by the government that police observed defendant brandish his

                       weapon. Defendant proffered that he did not. No testimony or video evidence was presented

                       on the issue, but defendant will introduce such evidence at the de novo hearing.

                              Regarding the alleged failure to refrain from possessing firearms despite that being

                       a condition of his state bond on misdemeanor charges, that allegation is pending and, as yet,

                       unresolved. Even if true, it does not rise to the level of the finding made by the Magistrate

                       Judge in her order that defendant participated “in criminal activity while on probation,

                       parole, or supervision”. (R. 8 Order of Detetnion Pending Trial, p. 2). Defendant was not

                       a prohibited person at the time of the alleged possession, so there was no “criminal activity”.

                       Secondly—as outlined below—enforceable conditions can be imposed that would prevent

                       defendant’s access to or possession of firearms pending his trial herein.

                              Regarding the dangerousness and nature of the charged crime, the Magistrate Judge

                       accepted the government’s view of the seriousness of the alleged conduct (i.e., tweeting a

                       photo which she interpreted as threatening harm to another) and cited this as the basis for

                       her finding that no condition or combination of conditions could reasonably protect the

                       public from a person charged with this type of offense. In so holding, the Magistrate Judge

                       accepted the government’s argument that the mere tweeting of an uncaptioned picture on

                       Twitter portraying a St. Matthews Police Department officer with a stylized “bullseye” on

                       his forehead and “skulls and a burning anarchy symbol” in the background constitutes a

                       serious federal crime and that such conduct is so inherently threatening and dangerous that

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                       merely being accused of it is sufficient to warrant a defendant detained as a danger to the

                       community pending trial. While the undersigned does not question the reasonableness and

                       good faith of the Magistrate Judge in accepting on face value such an argument from the

                       United States, counsel does question the ingenuousness of the government in making it. 4

                       However, that is neither here nor there for two important reasons: 1) Congress has


                         4
                          The government’s argument illustrates the double-standard applied to criminal prosecutions
                         for threatening posts and tweets—one for ordinary citizens and one for the political
                         establishment. What is considered a dangerous felony deserving of punishment when
                         engaged in by persons such as defendant is deemed to be merely the rough and tumble of
                         protected First Amendment discourse when engaged in by the political elite. For example,
                         The Detroit News reported on March 26, 2021 that “Michigan Republican Party Chairman
                         Ron Weiser labeled the state's top Democratic officeholders ‘witches’ and referenced
                         ‘assassination’ when pressed Thursday for answers about how to remove two sitting GOP
                         congressmen.” (See https://www.detroitnews.com/story/news/politics/2021/03/26/ michigan-
                         gop-chair-quips-assassination-3-witches-video/7011870002/). In a tweet on March 6, 2020,
                         Republican Rep. Ken Buck of Colorado’s 4th Congressional District threatened former Vice
                         President Joe Biden and former Texas Rep. Beto O’Rourke for wanting to “take everyone’s
                         AR-15s.” In the video, Buck stands before an AR-15 hanging on the wall and says, “I have
                         a message for Joe Biden and Beto O’Rourke. If you want to take everyone’s AR-15 in
                         America, why don’t you swing by my office in Washington, D.C., and start with this one?”
                         Then he takes the gun off the wall, holds it with his finger on the trigger, and says, “Come
                         and take it.” (See twitter.com/RepKenBuck/status/1235944686910660609?s=20). CNN
                         reported on January 26, 2021, that “Republican Rep. Marjorie Taylor Greene repeatedly
                         indicated support for executing prominent Democratic politicians in 2018 and 2019 before
                         being elected to Congress. . . . In one post, from January 2019, Greene liked a comment that
                         said ‘a bullet to the head would be quicker’ to remove House Speaker Nancy Pelosi. . . . In
                         other posts, Greene liked comments about executing FBI agents who, in her eyes, were part
                         of the ‘deep state’ working against Trump.” (See https://www.cnn.com/2021/01/26/
                         politics/marjorie-taylor-greene-democrats- violence/index.html). On September 4, 2020,
                         Greene posted on FaceBook, a picture of herself holding an assault rifle in a clearly
                         aggressive manner with three Muslim members of Congress. She has since removed it. (See
                         archive.is/jxugM). On March 25, 2021, South Dakota Senator Mike Rounds tweeted a picture
                         of a statue of a man and a dog. The man is holding a rifle. The caption says “Hey
                         @JoeBiden - come and take it. Careful, she bites too.” (See https://twitter.com/
                         SenatorRounds/status/ 1375129110683455493?s=20). Each of these statements and posts
                         are more threatening, egregious, and provacative than the single cryptic, captionless photo
                         ascribed to defendant, but were apparently deemed not threatening enough to warrant
                         prosecution by the United States. The government’s outrage is misplaced and rings hollow.
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                       specifically chosen to exclude such violations of 18 U.S.C. §875(c) from that group of

                       offenses deemed so serious and dangerous as to create a presumption against release

                       pending trial; and 2) the issue then becomes not whether the charge is serious (presumably,

                       all felony criminal charges are serious to a degree), rather it becomes whether there are

                       conditions or a combination of conditions that will reasonably protect the public if a

                       defendant charged with this conduct is released pending trial. It is on this second prong that

                       the Magistrate Judge erred when she held that the government had proved by clear and

                       convincing evidence that there were no such conditions.

                              In non-presumption cases such as this, pretrial detention is the rare exception and not

                       the rule. United States v. Simon, 760 F.Supp. 495 (D. Virgin Islands 1990). As the Supreme

                       Court has noted: “In our society, liberty is the norm, and detention prior to trial or without

                       trial is the carefully limited exception.” United States v. Salerno, 107 S.Ct. 2095 (1987).

                       It is appropriate “only for a ‘limited group’ of offenders . . . , i.e., the ‘small but identifiable

                       group of particularly dangerous defendants as to whom neither the imposition of stringent

                       release conditions nor the prospect of revocation of release can reasonably assure the safety

                       of the community or other persons.’ ” Simon, 760 F.Supp. at 496-97)(quoting United States

                       v. Traitz, 807 F.2d 322, 325(3d Cir. 1986)(quoting S.Rep. No. 98-225, 98th Cong., 2d Sess.

                       6-7, reprinted in 1984 U.S.Code Cong. & Admin.News 3182, 3189). “Congress envisioned

                       the pretrial detention of only a fraction of accused individuals awaiting trial.” United States

                       v. Orta, 760 F.2d 887, 891 (8th Cir. 1985). Doubts regarding the propriety of release are to

                       be resolved in favor of the defendant. Herzog v. United States, 75 S.Ct. 349, 351 (1955).

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                              For charges of violating 18 U.S.C. §875(c), the Bail Reform Act mandates

                       defendant’s pretrial release on personal recognizance or an unsecured bond unless the Court

                       determines by “clear and convincing evidence” that such release will endanger the safety

                       of any other person or the community. 18 U.S.C. § 3142. A guarantee of safety is not

                       required, the standard is instead “reasonable assurance.” United States v. Fortna, 769 F.2d

                       243 (5th Cir. 1985), cert. denied, 479 U.S. 950 (1986); United States v. Orta, 760 F.2d 887

                       (8th Cir. 1985)(en banc).

                              Even if the Court determines that a defendant’s release will not reasonably assure the

                       safety of the community, the analysis does not end there. In such cases, 18 U.S.C. § 3142(c)

                       again mandates release of the defendant subject to the least restrictive conditions that the

                       Court determines will reasonably assure the safety of the community. The Court must

                       consider whether one of the enumerated conditions, any other conditions, or any

                       combination of conditions will satisfy this “reasonable assurance” standard. Orta, 760 F.2d

                       at 890. “The wide range of restrictions available ensures, as Congress intended, that very

                       few defendants will be subject to pretrial detention.” Id.

                              The proof at the detention hearing was that defendant has no prior convictions for

                       any crime, let alone a crime of violence. He has never engaged in violent or aggressive

                       conduct, as verified by the witnesses. While he may have expressed anger at how BLM

                       protestors were treated by police, the witnesses all agreed that he has never exhibited anger

                       or aggressiveness in his encounters with police or others. He is a good father. He was

                       gainfully employed and capable of seeking employment. While he had no permanent

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                       residence due to loss of that employment, his father has agreed to allow him to live with him

                       and to be a third party custodian. Clearly, there are conditions that can be imposed on such

                       a man that will reasonably protect the public while he awaits trial on a contested charge he

                       denies.

                              The statute itself provides fourteen non-exclusive illustrations of conditions which

                       the Magistrate Judge should have considered and could have imposed in order to comply

                       with the least restrictive condition requirement of the statute. If the Court’s concern was

                       the protection of the public—as it apparently was in this case—numerous conditions have

                       been upheld that address this concern and still allow a defendant to be released pending trial:

                       third party custodianship (18 U.S.C. § 3142(c)(B)(I)); restrictions on personal associations,

                       place of abode, or travel (§ 3142(c)(B)(iv); reporting on a regular basis to a designated

                       agency (§ 3142(c)(B)(vi); curfew requirements (§ 3142(c)(B)(vii); and other conditions.

                              House arrest at his father’s home is a permissible condition of release. United States

                       v. Traitz, 807 F.2d 322 (3d Cir. 1986). cert. denied, 493 U.S. 821(1989). Ordering him to

                       remain in the third party’s custody with the further condition that the he not leave his place

                       of residence unless accompanied by that custodian is also permissible, as well as electronic

                       monitoring. United States v. Edwards, 960 F.2d 278 (2d Cir. 1992). Communication

                       restrictions—no mail, phone, internet—and motor vehicle use restrictions have also been

                       upheld. United States v. Miller, 625 F.Supp. 513 (D. Kan. 1985).

                              Clearly, there were and are conditions or combination of conditions recognized and

                       encouraged by the Bail Reform Act that would and will reasonably assure the safety of the

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                       public should defendant be released, including, but not limited to:

                              Third party custodianship, 18 U.S.C. §3142(c)(1)(B)(I)—An acceptable
                              third party custodian, defendant’s father, has been identified and can be vetted
                              by the Probation Officer. He will enforce any curfew or other restrictions and
                              report any violations. When he is at work, location and GPS monitoring will
                              insure compliance with any home detention condition. Password protection
                              will isolate defendant from any computer or internet access. No firearms will
                              be in the house or otherwise available to defendant.

                              Maintenance of employment, 18 U.S.C. §3142(c)(1)(B)(ii)—Defendant is
                              capable of working and has a history of steady employment. He could be
                              required to seek and/or obtain employment.

                              Restrictions on travel, abode, and associations, as well as curfews, 18
                              U.S.C. §§3142(c)(1)(B)(iv) and (vii)—Defendant can be restricted to the
                              home of his third party custodian; his place of work, if any; and any travel
                              approved by his probation officer. Defendant is willing to wear any electronic
                              monitoring necessary to insure his compliance with all travel, curfew, and
                              location restrictions.

                              Reporting to a probation officer, 18 U.S.C. §3142(c)(1)(B)(vi)— Defendant
                              will be living close by and can be easily monitored by and report to the
                              probation officer here in Louisville or in the Southern District of Indiana.

                              Prohibition of firearms or dangerous weapons, 18 U.S.C. §3142(c)(1)
                              (B)(viii)—Defendant will have no access to firearms or dangerous weapons
                              in the home of his third party custodian and will be prohibited from
                              possessing them in any event. Now that he is indicted for a felony, simple
                              possession of any firearm will constitute a new felony offense for which he
                              would receive a significant term of imprisonment even if acquitted of the
                              current charge; and, if convicted of the current charge, the Federal Sentencing
                              Guidelines would require such a sentence to run consecutively with any
                              sentence imposed herein. While on bond, he will be confined to his father’s
                              home where there will be no firearms and subject to search by the probation
                              officer to ensure that is the case.

                              Abstinence from alcohol or drugs, 18 U.S.C. §3142(c)(1)(B)(ix)— Given
                              defendant’s admitted alcohol and marijuana use, random drug and alcohol
                              testing can and should be ordered as conditions of release.


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                              Treatment for drug dependency, 18 U.S.C. §3142(c)(1)(B)(x)— Should it
                              be deemed by the probation officer to be needed, defendant will comply with
                              any counseling and treatment ordered by the Court or its probation officer.

                              Any other condition reasonably necessary to assure his appearance and
                              the safety of the community, 18 U.S.C. §3142(c)(1)(B)(xiv)—For example,
                              in addition to the above, defendant can be ordered to refrain from any direct
                              or indirect contact with the alleged victims or any witnesses or from accessing
                              the internet, mail, social media, or any form of communication for any
                              purpose other than communication his counsel. He can be ordered to abide
                              by any other conditions desired by the Court, and his compliance can be
                              reasonably assured by third party custodianship, home detention, GPS
                              monitoring, and supervision by United States Probation.

                              Defendant is willing to abide by the above restrictions or any others that the Court

                       may feel are warranted.

                                                                Conclusion

                              Without question, there is a condition or a combination of conditions that will

                       reasonably assure the safety of the community should defendant be released pending trial

                       on this charge of which he is presumed innocent.

                              At the very least, the Bail Reform Act mandates defendant’s pretrial release subject

                       to the least restrictive conditions that the Court determines will reasonably assure the safety

                       of the community. The conditions and combination of conditions outlined herein satisfy this

                       “reasonable assurance” standard and his release subject thereto is necessary to implement

                       the will of Congress that very few defendants be subject to pretrial detention.” Orta, 760

                       F.2d at 890.

                              WHEREFORE, defendant respectfully moves the Court to vacate the Magistrate

                       Judge’s order of detention.

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                                                                  Counsel for Defendant.




                                                            CERTIFICATE

                               I hereby certify that on March 30, 2021, I electronically filed the foregoing with the
                       clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
                       to the following: Joshua Judd, Assistant United States Attorney.



                                                                  /s/ Scott T. Wendelsdorf




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